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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

JEFF JANICKI,                                )
                                             )
                        Plaintiff,           )               10-cv-5850
                                             )
                  vs.                        )               Judge Coar
                                             )               Magistrate Judge Brown
PORTFOLIO RECOVERY                           )
ASSOCIATES,                                  )
LLC.                                         )
                                             )
                                             )
                                             )
                        Defendant.           )

                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to F.R.C.P. 41(a)(1)(A)(i), Plaintiff hereby voluntarily dismisses his claims in the

present matter.



                                             s/Zachary A. Jacobs
                                             Zachary A. Jacobs

Daniel A. Edelman
Cathleen M. Combs
James O. Latturner
Zachary A. Jacobs
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                                CERTIFICATE OF SERVICE

       I, Zachary A. Jacobs, hereby certify that on December 15, 2010, I caused to be filed the
foregoing documents via the CM/ECF System, and sent a copy via U.S. Mail to the following:

Kevin M. Duffan
Associate Counsel
Portfolio Recovery Associates
140 Corporate Boulevard
Norfolk, VA 23502




                                                    s/Zachary A. Jacobs
                                                    Zachary A. Jacobs




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